Case 20-10343-LSS   Doc 6249-1   Filed 09/16/21   Page 1 of 11




                EXHIBIT A
               Case 20-10343-LSS          Doc 6249-1   Filed 09/16/21    Page 2 of 11


 #                                   Objector                                  Date Filed   D.I.

                                         PLAINTIFF GROUPS

                                            OBJECTIONS

1.    Pro se Claimant No. 242                                                    3/16/21    2386

2.    James, Vernon, and Weeks, PA Claimants                                     3/24/21    2449

3.    Pro se Claimant                                                            3/29/21    2470

4.    Ciardi, Ciardi & Astin Claimants                                           3/31/21    2497

5.    Claimant No. 39334                                                         4/1/21     2500

6.    Pro se Claimant                                                            4/5/21     2533

7.    Pro se Claimant                                                            4/12/21    2576

8.    Jacobs & Crumplar, P.A. and The Neuberger Firm, PA Claimants               4/13/21    2580

9.    Locks Law Firm Claimants                                                   4/13/21    2586

10.   Berman Law Firm Claimants                                                  4/20/21    2642

11.   Pro se Claimant                                                            4/22/21    2667

12.   Gordon & Partners, P.A. Claimants                                          4/30/21    2739

13.   Jacobs & Crumplar, PA and The Neuberger Firm, PA Claimants                 4/30/21    2741

14.   Janet, Janet & Suggs, LLC Claimants                                        5/4/21     2845

15.   Andrus Wagstaff, PC and Justice Law Collaborative, LLC Claimants           5/4/21     2902

16.   DLG Claimants                                                              5/4/21     2959

17.   Edward Marcelino, George Burgos, William F. Tompkins III, and Richard      5/4/21     2960
      G. Dunn

18.   Anderson & Cummings, LLP Claimants                                         5/5/21     3150

19.   Andreozzi + Foote Claimants                                                5/5/21     3151

20.   Colter Legal, PLLC Claimants                                               5/5/21     3153

21.   Dumas & Vaughn, LLC Claimants                                              5/5/21     3154




                                                  1
               Case 20-10343-LSS         Doc 6249-1   Filed 09/16/21    Page 3 of 11


 #                                     Objector                               Date Filed   D.I.

22.   Gair, Gair, Conason, Rubinowitz, Bloom, Hershenhorn, Steigman &           5/5/21     3155
      Mackauf Claimants

23.   Messa & Associates, PC Claimants                                          5/5/21     3156

24.   Schneider Wallace Cottrell Konecky, LLP Claimants                         5/5/21     3157

25.   Oaks Law Firm Claimants                                                   5/5/21     3158

26.   Oshan & Associates, PC Claimants                                          5/5/21     3159

27.   Claimant No. 45448                                                        5/5/21     3160

28.   Claimant No. 39334                                                        5/6/21     3162

29.   The Law Office of Stephanie Morris, LLC Claimants                         5/6/21     3163

30.   Sullivan Papain Block McGrath Coffinas & Cannavo, PC Claimant             5/6/21     3164

31.   Kralovec, Jambois & Schwartz Claimant                                     5/6/21     3165

32.   Claimant SA-105992, SA-71204                                              5/6/21     3167

33.   Manly, Stewart & Finaldi Claimants                                        5/6/21     3175

34.   Beasley, Allen, Crow, Methvin, Portis & Miles, PC Claimants               5/6/21     3176

35.   Claimant Nos. SA-179, SA-238, SA-728, SA-906, SA-3388, SA-13945,          5/6/21     3177
      SA-18563, SA-41358, and SA-46628

36.   Chiacchia & Fleming, LLP Claimants                                        5/6/21     3178

37.   James Harris Law, PLLC Claimants                                          5/6/21     3181

38.   Herman Law Claimants                                                      5/6/21     3182

39.   Hach Rose Schirripa & Cheverie, LLP Claimants                             5/6/21     3183

40.   Crew Janci, LLP Claimants                                                 5/6/21     3193

41.   Merson Law, PLLC Claimants                                                5/6/21     3194

42.   Spagnoletti Law Firm Claimants                                            5/6/21     3198

43.   James F. Humphreys & Associates, LC Claimants                             5/6/21     3205

44.   Laffey, Bucci, & Kent, LLP Claimants                                      5/6/21     3207



                                                  2
                Case 20-10343-LSS        Doc 6249-1     Filed 09/16/21   Page 4 of 11


 #                                    Objector                                 Date Filed   D.I.

45.   Harnick and Harnick Claimant                                               5/6/21     3211

46.   Cooper Elliott Claimants                                                   5/6/21     3214

47.   Law Offices Of Anthony M. Demarco Claimant                                 5/6/21     3219

48.   The Law Office of Michael G. Dowd and Sweeney, Reich & Bolz, LLP           5/6/21     3222
      Claimants

49.   Linder Sattler & Rogowsky, LLP Claimants                                   5/6/21     3225

50.   Mallard Claimants                                                          5/6/21     3226

51.   Lujan & Wolff, LLP Claimants                                               5/6/21     3231

52.   Darren Penn, of Penn Law LLC Claimants                                     5/6/21     3236

53.   Joshua D. Gillispie, of Green & Gillispie Claimants                        5/6/21     3243

54.   Mones Claimants                                                            5/6/21     3247

55.   Berman & Simmons Claimants                                                 5/6/21     3249

56.   Claimant E.G.W.                                                            5/6/21     3251

57.   Perdue & Kidd Claimants                                                    5/6/21     3252

58.   Kenneth J. Ready & Associates Claimants                                    5/6/21     3253

59.   Nesenoff & Miltenberg Claimant                                             5/6/21     3254

60.   Affeld Grivakes LLP Claimant                                               5/6/21     3255

61.   Law Office Of Joseph M. Kar, PC Claimant                                   5/6/21     3256

62.   Claimant Paul Baumann                                                      5/6/21     3257

63.   Cutter Law Claimants                                                       5/6/21     3258

64.   Robins Kaplan, LLP Claimant                                                5/6/21     3260

65.   Brent Coon & Associates Claimants                                          5/6/21     3261

66.   Van Zanten & Onik, LLC Claimant                                            5/6/21     3262

67.   Ronald Hernandez Hunter, Plaintiff in Hunter v. Boy Scouts of America,     5/6/21     3264
      Case No. 20 Civ. 315 (E.D.N.Y.)



                                                   3
                Case 20-10343-LSS        Doc 6249-1   Filed 09/16/21   Page 5 of 11


 #                                    Objector                               Date Filed   D.I.

68.   Pfau Cochran Vertetis Amala, PLLC Claimants                              5/6/21     3265

69.   Horowitz Law Claimants                                                   5/6/21     3267

70.   Claimant SA-35                                                           5/6/21     3268

71.   Fasy Law, Blumel Law and Tamaki Law Claimants                            5/6/21     3269

72.   Esther Panitch of The Panitch Law Group, PC, Natalie Woodward and        5/6/21     3272
      Brian Cathey of Shamp Jordan Woodward, LLC, and Michael Terry of
      Bondurant, Mixson & Elmore, LLC, Claimants

73.   Aylstock, Witkin, Kreis & Overholtz, PLLC Claimants                      5/6/21     3274

74.   Gibbs Law Group, LLP Claimants                                           5/6/21     3275

75.   Zalkin Law Firm Claimants                                                5/6/21     3276

76.   Zuckerman Claimants                                                      5/6/21     3277

77.   Alonso Krangle Claimants                                                 5/6/21     3279

78.   Betti & Associates Claimants                                             5/6/21     3281

79.   Claimant Nos. 60051 and 63823                                            5/6/21     3282

80.   Hurley McKenna & Mertz, PC Claimants                                     5/6/21     3284

81.   Claimant E.G.W.                                                          5/7/21     3309

82.   Massey Law Firm Claimants                                                5/10/21    3424

83.   Tort Claimants’ Committee                                                5/10/21    3526

84.   Future Claimants’ Representative                                         5/10/21    3565

85.   Coalition of Abused Scouts for Justice                                   5/10/21    3569

                                  SUPPLEMENTAL OBJECTIONS

86.   Pro se Claimant                                                          5/17/21    4154

87.   Dumas & Vaughn, LLC Claimant #29655                                      6/1/21     5171

88.   Saunders & Walker Claimants                                              6/7/21     5366

89.   Bonina & Bonina, PC Claimants                                            8/10/21    5955



                                                 4
                Case 20-10343-LSS       Doc 6249-1     Filed 09/16/21    Page 6 of 11


 #                                    Objector                                 Date Filed   D.I.

90.   Manly, Stewart & Finaldi Claimants                                         8/11/21    5963

91.   Pfau Cochran Vertetis Amala, PLLC Claimants                                8/11/21    5964

92.   Chiacchia & Fleming, LLP Claimants                                         8/11/21    5965

93.   James, Vernon & Weeks, PA Claimants                                        8/11/21    5966

94.   Alonso Krangle, LLP Claimants                                              8/11/21    5967

95.   Winer, Burritt & Scott, LLP Claimants                                      8/11/21    5968

96.   The Massey Law Firm Claimants                                              8/11/21    5971

97.   Law Offices of Anthony M. DeMarco Claimants                                8/11/21    5978

98.   Oaks Law Firm Claimants                                                    8/12/21    5982

99.   Kralovec, Jambois & Schwartz Claimants                                     8/13/21    5989

100. Nettles | Morris Claimant                                                   8/13/21    5990

101. Spagnoletti Law Firm Claimants                                              8/13/21    5991

102. Van Zanten & Onik, LLC Claimants                                            8/13/21    5992

103. Jacobs & Crumplar, PA and The Neuberger Firm Claimants                      8/13/21    6002

104. Gair, Gair, Conason, Rubinowitz, Bloom, Hershenhorn, Steigman &             8/13/21    6003
     Mackauf Claimants

105. Morgan & Morgan Claimants                                                   8/13/21    6004

106. Nesenoff & Miltenberg, LLP Claimants                                        8/16/21    6005

107. Kenneth J. Ready & Associates Claimants                                     8/16/21    6006

108. Joshua D. Gillispie, of Green & Gillispie, Attorneys at Law Claimants       8/16/21    6007

109. Aylstock Witkin, Kreis & Overholtz, PLLC Claimants                          8/16/21    6008

110. Linder, Sattler & Rogowsky, LLP Claimants                                   8/16/21    6010

111. Gellert Scali Busenkell & Brown, LLC and Lomurro, Munson, Comer,            8/16/21    6015
     Brown & Schottland, LLC Claimants

112. Sullivan Papain Block Mcgrath Coffinas & Cannavo, PC Claimant               8/16/21    6016



                                                   5
                Case 20-10343-LSS       Doc 6249-1     Filed 09/16/21   Page 7 of 11


 #                                   Objector                                 Date Filed   D.I.

113. Perdue & Kidd Claimants                                                    8/16/21    6017

114. Gordon & Partners, PA Claimants                                            8/16/21    6018

115. Law Offices of Betti & Associates Claimants                                8/16/21    6024

116. Pro se Claimant 242                                                        8/16/21    6027

117. Anderson & Cummings, LLP Claimants                                         8/16/21    6028

118. Gregory J. Cannata & Associates, LLP Claimants                             8/16/21    6029

119. Dumas & Vaughn, LLC Claimants                                              8/16/21    6030

120. Zalkin Law Firm, PC Claimants                                              8/16/21    6031

121. Herman Law Claimants                                                       8/16/21    6032

122. Ronald Hernandez Hunter, Plaintiff in Hunter v. Boy Scouts of America,     8/16/21    6033
     No. 20 Civ. 315 (E.D.N.Y.)

123. Fairfield & Associates Claimants                                           8/16/21    6034

124. Law Office of Stephanie Morris, LLC Claimant                               8/16/21    6036

125. Oshan & Associates, PC Claimants                                           8/16/21    6037

126. Lujan & Wolff, LLP Claimants                                               8/16/21    6039

127. Searcy Denney Scarola Barnhart & Shipley, PA Claimants                     8/16/21    6040

128. Claimant SA-35                                                             8/16/21    6042

129. Zuckerman Spaeder, LLP Claimants                                           8/16/21    6043

130. Beasley Allen Law Firm Claimants                                           8/16/21    6046

131. Siegle & Sims, LLP Claimants                                               8/16/21    6047

                                             INSURERS

                                           OBJECTIONS

132. Great American Assurance Company, f/k/a Agricultural Insurance             5/6/21     3271
     Company, Great American E&S Insurance Company, f/k/a Agricultural
     Excess and Surplus Insurance Company, and Great American E&S
     Insurance Company (collectively, “Great American”)



                                                   6
                Case 20-10343-LSS       Doc 6249-1     Filed 09/16/21     Page 8 of 11


 #                                    Objector                                  Date Filed   D.I.

133. Travelers Casualty and Surety Company, Inc. (f/k/a AETNA Casualty &          5/6/21     3278
     Surety Company), St. Paul Surplus Line Insurance Company and Gulf
     Insurance Company (“Travelers”)

134. Argonaut Insurance Company                                                   5/6/21     3285

135. American Zurich Insurance Company, American Guarantee and Liability          5/10/21    3478
     Insurance Company, and Steadfast Insurance Company (collectively, the
     “Zurich Insurers”)

136. National Union Fire Insurance Company of Pittsburgh, Pa., Lexington          5/10/21    3523
     Insurance Company, Landmark Insurance Company, The Insurance
     Company of the State of Pennsylvania, and their affiliated entities
     (collectively, the “AIG Companies”)

137. Allianz Global Risks US Insurance Company, National Surety                   5/10/21    3549
     Corporation, and Interstate Fire & Casualty Company (collectively, the
     “Allianz Insurers”)

138. Clarendon National Insurance Company, as Successor by Merger to              5/10/21    3558
     Clarendon American Insurance Company (“Clarendon”)

139. Liberty Mutual Insurance Company, together with its affiliates and           5/10/21    3578
     subsidiaries (collectively, “Liberty”)

140. Columbia Casualty Company; The Continental Insurance Company as              5/10/21    3582
     successor in interest to certain policies issued by Harbor Insurance
     Company; The Continental Insurance Company successor by merger to
     Niagara Fire Insurance Company; and The Continental Insurance
     Company (collectively, “Continental Insurance Company”)

141. General Star Indemnity Company (“General Star”)                              5/12/21    3740

142. Century Indemnity Company (“Century”), as successor to CCI Insurance         5/12/21    3856
     Company, as successor to Insurance Company of North America and
     Indemnity Insurance Company of North America

143. Arrowood Indemnity Company                                                   5/14/21    4065

                                 SUPPLEMENTAL OBJECTIONS

144. Arrowood Indemnity Company                                                   6/2/21     5208

145. Century Indemnity Company, as successor to CCI Insurance Company, as         6/3/21     5214
     successor to Insurance Company of North America and Indemnity
     Insurance Company of North America



                                                   7
               Case 20-10343-LSS       Doc 6249-1     Filed 09/16/21    Page 9 of 11


 #                                   Objector                                   Date Filed   D.I.

146. Markel Service, Incorporated, Claim Service Manager for Evanston            8/16/21     6038
     Insurance Company (“Evanston”)

147. Certain Insurers (specifically, AIG Companies, The Continental Insurance    8/17/21     6052
     Company and Columbia Casualty Company, Old Republic Insurance
     Company, Indian Harbor Insurance Company, on behalf of itself and as
     successor in interest to Catlin Specialty Insurance Company, Clarendon
     American Insurance Company, Maryland Casualty Company, Maryland
     American General Group, American General Fire & Casualty Company,
     Travelers Casualty and Surety Company, Inc. (f/k/a Aetna Casualty &
     Surety Company), St. Paul Surplus Lines Insurance Company and Gulf
     Insurance Company, Arrowood Indemnity Company, Munich Reinsurance
     America, Inc., formerly known as American Re-Insurance Company)

148. Arch Insurance Company                                                      8/17/21     6053

149. Allianz Global Risks US Insurance Company, National Surety Corporation,     8/17/21     6055
     and Interstate Fire & Casualty Company

150. Certain Excess Insurers (specifically, Great American Assurance Company,    8/17/21     6056
     f/k/a Agricultural Insurance Company, Great American E&S Insurance
     Company, f/k/a Agricultural Excess and Surplus Insurance Company and
     Great American E&S Insurance Company, along with American Zurich
     Insurance Company, American Guarantee and Liability Insurance
     Company, and Steadfast Insurance Company)

151. Liberty Mutual Insurance Company                                            8/17/21     6057

152. Hartford Accident and Indemnity Company, First State Insurance              8/17/21     6058
     Company, Twin City Fire Insurance Company, and Navigators Specialty
     Insurance Company

153. American Zurich Insurance Company, American Guarantee and Liability         8/17/21     6062
     Insurance Company, Steadfast Insurance Company, The Continental
     Insurance Company, Columbia Casualty Company, Allianz Global Risks
     US Insurance Company, National Surety Corporation, Interstate Fire &
     Casualty Company, Clarendon America Insurance Company, General Star
     Indemnity Company, and Arrowood Indemnity Company

154. Century Indemnity Company, as successor to CCI Insurance Company, as        8/17/21     6065
     successor to Insurance Company of North America and Indemnity
     Insurance Company of North America

                                CHARTERED ORGANIZATIONS

                                           OBJECTIONS



                                                  8
               Case 20-10343-LSS        Doc 6249-1     Filed 09/16/21    Page 10 of 11


 #                                    Objector                                    Date Filed   D.I.

155. The Church Of Jesus Christ Of Latter-Day Saints, A Utah Corporation            5/6/21     3263
     Sole

156. The Knights of Columbus, 1 Columbus Plaza, New Haven, CT 06510;                5/6/21     3270
     Knights of Columbus, Council #462 (“Council #462”); Knights of
     Columbus, Saratoga Council #246 a/k/a Saratoga Knights of Columbus
     (“Council #246”); and Knights of Columbus, Father Baker Council #2243
     (“Father Baker Council”), as well as any and all other Knights of
     Columbus councils, and or entities (collectively, the “Knights of
     Columbus entities”)

157. United Methodist Ad Hoc Committee                                              5/6/21     3273

158. Roman Catholic Archbishop of San Francisco                                    5/12/21     3853

159. Roman Catholic Archbishop of Los Angeles, a corporation sole                  5/14/21     4092
     (“RCALA”), and its related BSA-chartered organizations (the “ADLA
     Chartered Organizations”)

                                  SUPPLEMENTAL OBJECTIONS

160. Official Committee of Unsecured Creditors in the Chapter 11 Case of the       5/17/21     4321
     Archbishop of Agaña (Bankr. D. Guam 19-00010)

161. Official Committee of Unsecured Creditors in the Chapter 11 Case of the        8/2/21     5842
     Archbishop of Agaña (Bankr. D. Guam 19-00010)

162. The Church of Jesus Christ of Latter-day Saints, a Utah Corporation Sole      8/16/21     6009

163. The Episcopal Church                                                          8/16/21     6014

164. The Knights of Columbus, 1 Columbus Plaza, New Haven, CT 06510;               8/16/21     6041
     Knights of Columbus, Council #462 (“Council #462”); Knights of
     Columbus, Saratoga Council #246 a/k/a Saratoga Knights of Columbus
     (“Council #246”); and Knights of Columbus, Father Baker Council #2243
     (“Father Baker Council”), as well as any and all other Knights of Columbus
     councils, and/or entities

165. The Roman Catholic Archbishop of Los Angeles, a corporation sole, and its     8/16/21     6044
     related BSA-Chartered Organizations, and The Roman Catholic Diocese of
     Brooklyn, New York

166. The Roman Catholic and United Methodist Ad Hoc Committees (the                8/17/21     6067
     “Catholic and Methodist Committees”)




                                                   9
               Case 20-10343-LSS       Doc 6249-1       Filed 09/16/21   Page 11 of 11


 #                                   Objector                                   Date Filed   D.I.

167. Archbishop of Agaña, a Corporation Sole, Chapter 11 Debtor-in-              8/17/21     6070
     Possession, District Court of Guam, Territory of Guam, Bankruptcy
     Division, Case 19-00010 (the “Archbishop of Agaña”)

168. The Diocese of Buffalo, N.Y., Chapter 11 Debtor-in-Possession, Western      8/17/21     6071
     District of New York Bankruptcy Court, Case No. 20-10322 (the “Buffalo
     Diocese”)

169. The Roman Catholic Diocese of Ogdensburg, New York (the “Ogdensburg         8/17/21     6072
     Diocese”)

170. The Diocese of Rochester, Chapter 11 Debtor-in-Possession, Western          8/17/21     6073
     District of New York Bankruptcy Court, Case No. 19-20905 (the
     “Rochester Diocese”)

171. The Roman Catholic Diocese of Syracuse, New York, Chapter 11 Debtor-        8/17/21     6074
     in-Possession, Northern District of New York Bankruptcy Court, Case No.
     20-30663 (the “Syracuse Diocese”)

172. The Norwich Roman Catholic Diocesan Corporation, a Chapter 11 Debtor-       8/17/21     6075
     in-Possession in the United States Bankruptcy Court for the District of
     Connecticut, Case No. 21-20687 (JJT) (the “Norwich Diocese”)

                                                OTHER

                                           OBJECTIONS

173. Girl Scouts of the United States of America                                 5/10/21     3579

174. United States Trustee                                                       5/10/21     3581

                                 SOLICITATION PROCEDURES

                                           OBJECTIONS

177.   Century Indemnity Company, as successor to CCI Insurance Company, as      5/12/21     3857
       successor to Insurance Company of North America and Indemnity
       Insurance Company of North America




                                                   10
